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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
                          )
               Plaintiff, )
                          )
     v.                   )              Case No. 13-CR-28-JED-35
                          )
CHANTZ LUCAS,             )
                          )
               Defendant. )

                                OPINION AND ORDER

      Non-Party Tulsa County District Attorney’s Motion to Quash Subpoena Duces

Tecum, [Dkt. 1004], is before the court for decision. The court ordered that any responses

to the motion be filed by April 10, 2015. [Dkt. 1014]. No response has been filed.

      Non-Party Tulsa County District Attorney’s Motion to Quash Subpoena Duces

Tecum, [Dkt. 1004], is therefor GRANTED.

      IT IS SO ORDERED this 14th day of April 2015.
